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                                  OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                 Northern District of California

                                            CIVIL MINUTES


Date: February 21, 2024        Time: 9:28 a.m. to 11:52 p.m.       Judge: YVONNE GONZALEZ ROGERS
                                     2 hours 24 minutes

Case No.: 21-cv-2155-YGR       Case Name: In Re Google RTB Consumer Privacy Litigation


Attorney for Plaintiff: David Straite; Nanci Nishimura; Elizabeth Pritzker; Jonathan Levine;
                        Karin Swope; Jay Barnes; Lesley Weaver; Brian Danitz; and Jeffrey Mudd
Attorney for Defendant: Whitty Somvichian; Aarti Reddy; and Reece Trevor

Deputy Clerk: Edwin Angelo A. Cuenco                      Reported by: Kendra Steppler; via Zoom

                                             PROCEEDINGS

Hearing on Motion for Class Certification and Daubert Motions - HELD.

Parties are ordered to meet and confer on a schedule of the case moving forward.
